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   1 ALAN M. RITCHIE (298989)

   2
     aritchie@pilgrimchristakis.com
     PILGRIM CHRISTAKIS LLP
   3 321 N. Clark Street, 26th Floor

   4 Chicago, Illinois 60654
     Telephone: (312) 924-1773
   5 Facsimile: (312) 379-8547

   6
       Attorneys for Defendant
   7 POWERLINE FUNDING LLC

   8
                     IN THE UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                          SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly       Case No. 8:19-cv-00098
       situated,
  13                                         FOURTH STIPULATION FOR
  14               Plaintiff,                EXTENSION OF TIME TO
                                             RESPOND TO THE COMPLAINT
  15         vs.
  16
       POWERLINE FUNDING LLC, a New
  17 York limited liability company,

  18
                   Defendants.
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                                                FOURTH STIPULATION FOR EXTENSION OF TIME
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   1                                         STIPULATION
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       TO THE HONORABLE COURT:
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   4            WHEREAS on January 21, 2019, Mariano Benitez (“Plaintiff”) filed a

   5 putative class action complaint (“Complaint”) against Powerline Funding LLC

   6
       (“Powerline”);
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   8            WHEREAS Powerline was served with a Summons and copy of the

   9 Complaint on or about January 24, 2019, making Powerline’s responsive pleading

  10
       originally due to be filed on February 14, 2019;
  11

  12            WHEREAS the Court previously approved the parties’ stipulations to extend

  13 Powerline’s time to respond to the Complaint to and including April 15, 2019 while

  14
       the parties investigated the facts of this case and discussed potential resolution1;
  15

  16            WHEREAS the undersigned counsel was only recently retained by
  17 Powerline2 and needs additional time to investigate the facts of this case and review

  18
       the allegations and claims in the Complaint;
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  20            WHEREAS the parties also desire additional time to discuss potential
  21 resolution without incurring additional litigation costs;

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                IT IS HEREBY STIPULATED by and between the parties, through their
  23

  24 respective counsel, that Powerline shall have up to and including April 29, 2019 to

  25 file its response to Plaintiff’s Complaint.

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           See Dkt. Nos. 13, 16-18, 21-22.
  27   2
           See Dkt. Nos. 19, 25.
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                                                       FOURTH STIPULATION FOR EXTENSION OF TIME
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   1                                            Respectfully submitted,
   2
       Dated: April 9, 2019                    Defendant Powerline Funding LLC
   3

   4                                           By: /s/ Alan M. Ritchie
                                                      One of its Attorneys
   5

   6                                           Alan M. Ritchie (298989)
                                               aritchie@pilgrimchristakis.com
   7                                           Pilgrim Christakis LLC
   8                                           321 N. Clark Street, 26th Floor
                                               Chicago, Illinois 60654
   9                                           Telephone: (312) 924-1773
  10                                           Facsimile: (312) 379-8547

  11 Dated April 9, 2019                       Plaintiff Mariano Benitez
  12
                                               By: /s/ Taylor T. Smith
  13                                                  One of his Attorneys
  14
                                               Steven L. Woodrow (admitted pro hac vice)
  15                                           swoodrow@woodrowpeluso.com
  16                                           Taylor T. Smith (admitted pro hac vice)
                                               tsmith@woodrowpeluso.com
  17                                           Woodrow & Peluso, LLC
  18                                           3900 East Mexico Ave, Suite 300
                                               Denver, Colorado 80210
  19                                           Telephone: (720) 213-0675
  20                                           Facsimile: (303) 927-0809
  21                           SIGNATURE CERTIFICATION
  22
             Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Plaintiff’s
  23

  24 counsel concurs with the content of this document and has authorized me to affix his

  25 signature to the document and file the same with the Court.

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  27                                                  /s/ Alan M. Ritchie
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                                                      FOURTH STIPULATION FOR EXTENSION OF TIME
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   1                              CERTIFICATE OF SERVICE
   2         Alan M. Ritchie, an attorney, certifies that on April 9, 2019, he electronically
   3
       filed the foregoing Third Stipulation for Extension of Time to Respond to the
   4

   5 Complaint with the Clerk of the Court by using the CM/ECF system, which will

   6
       send a notice of electronic filing to all attorneys of record.
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   8                                                    /s/ Alan M. Ritchie
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                                                        FOURTH STIPULATION FOR EXTENSION OF TIME
